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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   YASIN MOHAMMAD
     Assistant U.S. Attorney
 3   4401 Federal Building
     2500 Tulare St.
 4   Fresno, CA 93721
     (559) 497-4000
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 8                                IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                       )   CASE NO. 1:12-CR-176-AWI-DLB
                                                     )
12                  Plaintiff,                       )
                                                     )   APPLICATION AND ORDER TO
13                  v.                               )   UNSEAL THE INDICTMENT AND
                                                     )   SUPERSEDING INDICTMENT,
14   ISRAEL PEREZ, A.K.A.                            )   BUT NOT THE COMPLAINT
     MANUEL VELASQUEZ,                               )
15   JORGE MEJIA, A.K.A. “GORDO,” AND                )
     DIEGO RAMIREZ, A.K.A. DANIEL                    )
16   FERREIRA, A.K.A. “BEBE,”                        )
                                                     )
17                  Defendants.                      )
                                                     )
18

19
            The United States of America hereby applies for an order unsealing the indictment and
20
     superseding indictment in the above-captioned case as there no longer remains a need for the entire case
21
     to be under seal. However, the Complaint against Defendant Diego Ramirez (Case No. 1:12-mj-134-
22
     GSA) must remain SEALED for the reason(s) in the Court’s order sealing said complaint. A redacted
23
     copy of the complaint has been provided to counsel for Diego Ramirez.
24

25                                                           BENJAMIN B. WAGNER
                                                             United States Attorney
26
27   DATED: July 13, 2012                                By:    /s/ Yasin Mohammad
                                                                YASIN MOHAMMAD
28                                                              Assistant U.S. Attorney

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                                Case 1:12-cr-00176-ADA Document 21 Filed 07/17/12 Page 2 of 2


 1                                                 IN THE UNITED STATES DISTRICT COURT

 2                                                   EASTERN DISTRICT OF CALIFORNIA

 3

 4   UNITED STATES OF AMERICA,                                    )    CASE NO. 1:12-CR-176-AWI-DLB
                                                                  )
 5                                  Plaintiff,                    )    ORDER UNSEALING THE
                                                                  )    INDICTMENT AND SUPERSEDING
 6                                  v.                            )    INDICTMENT, BUT NOT THE
                                                                  )    COMPLAINT
 7   ISRAEL PEREZ, A.K.A.                                         )
     MANUEL VELASQUEZ,                                            )
 8   JORGE MEJIA, A.K.A. “GORDO,” AND                             )
     DIEGO RAMIREZ, A.K.A. DANIEL                                 )
 9   FERREIRA, A.K.A. “BEBE,”                                     )
                                                                  )
10                                   Defendants.                  )
                                                                  )
11

12
                              IT IS HEREBY ORDERED THAT the indictment and superseding indictment in the above-
13
     captioned case be UNSEALED as there no longer remains a need for the entire case to be under seal.
14
     However, the Complaint against Defendant Diego Ramirez (Case No. 1:12-mj-134-GSA) shall remain
15
     SEALED for the reason(s) in the Court’s order sealing said complaint.
16

17   IT IS SO ORDERED.
18
                           Dated:   July 16, 2012                            /s/ Dennis L. Beck
19                                                                    UNITED STATES MAGISTRATE JUDGE
     DEAC_Signature-END:




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